 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 1 of 9 Page ID #:1



 1 TRINETTE G. KENT (State Bar No. 222020)
 2 3219 E Camelback Road, #588
   Phoenix, AZ 85018
 3 Telephone: (480) 247-9644
 4 Facsimile: (480) 717-4781
   E-mail: tkent@lemberglaw.com
 5
 6 Of Counsel to
   Lemberg Law, LLC
 7
   43 Danbury Road
 8 Wilton, CT 06897
   Telephone: (203) 653-2250
 9
   Facsimile: (203) 653-3424
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11 Attorneys for Plaintiff,
   Briana Armentrout
12
13
                          UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15                              EASTERN DIVISION
16
17 Briana Armentrout,                      Case No.:
18
                    Plaintiff,             COMPLAINT FOR DAMAGES
19
20        vs.                              FOR VIOLATIONS OF:
                                            1. THE TELEPHONE CONSUMER
21
     General Revenue Corporation,           PROTECTION ACT;
22                                          2. THE FAIR DEBT COLLECTION
                      Defendant.            PRACTICES ACT; AND
23
                                            3. THE ROSENTHAL FAIR DEBT
24                                          COLLECTION PRACTICES ACT
25
                                           JURY TRIAL DEMANDED
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 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 2 of 9 Page ID #:2



 1         Plaintiff, Briana Armentrout (hereafter “Plaintiff”), by undersigned counsel,
 2
     brings the following complaint against General Revenue Corporation (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                       JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the
 7
 8 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), repeated
 9 violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
10
   (“FDCPA”), and repeated violations of the Rosenthal Fair Debt Collection Practices
11
12 Act, Cal. Civ. Code § 1788, et seq. (“Rosenthal Act”).
13         2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), 15 U.S.C. §
14
     1692k(d), Cal. Civ. Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
15
16         3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
17
     the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
18
19 where Defendant transacts business in this district.
20                                           PARTIES
21
           4.     Plaintiff is an adult individual residing in Colton, California, and is a
22
23 “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
24         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a
25
     “debtor” as defined by Cal. Civ. Code § 1788.2(h).
26
27
28


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                                                               COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 3 of 9 Page ID #:3



 1         6.     Defendant is a business entity located in Cincinnati, Ohio, and is a
 2
     “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
 3
 4 1788.2(g).
 5         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 6
     business the principle purpose of which is the collection of debts and/or regularly
 7
 8 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 9
     “debt collector” as defined by 15 U.S.C.§ 1692a(6).
10
11         8.     Defendant, in the ordinary course of business, regularly, on behalf of

12 itself or others, engages in the collection of consumer debts, and is a “debt collector”
13
     as defined by Cal. Civ. Code § 1788.2(c).
14
15
                    ALLEGATIONS APPLICABLE TO ALL COUNTS
16
17         9.     Upon information and belief, a financial obligation was allegedly

18 incurred by a person who is not a party to this lawsuit (hereafter “Debtor”).
19
           10.    Plaintiff is not the Debtor, has no location information regarding the
20
21 Debtor, and has no responsibility for repayment of Debtor’s debt.
22         11.    Debtor’s alleged obligation arises from a transaction in which property,
23
     services or money was acquired on credit primarily for personal, family or household
24
25 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
26
     defined by Cal. Civ. Code § 1788.2(f).
27
28


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                                                             COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 4 of 9 Page ID #:4



 1         12.    At all times mentioned herein where Defendant communicated with any
 2
     person via telephone, such communication was done via Defendant’s agent,
 3
 4 representative or employee.
 5         13.    At all times mentioned herein, Plaintiff utilized a cellular telephone
 6
     service and was assigned the following telephone number: 951-xxx-0050 (hereafter
 7
 8 “Number”).
 9
           14.    Defendant placed calls to Plaintiff’s Number in an attempt to collect a
10
11 debt.
12         15.    The aforementioned calls were placed using an automatic telephone
13
     dialing system (“ATDS”) and/or by using an artificial or prerecorded voice
14
15 (“Robocalls”).
16         16.    When Plaintiff answers Defendant’s calls, she hears a significant period
17
     of silence before Defendant’s automated system attempts to connect Plaintiff to a live
18
19 representative.
20
           17.    In or around August of 2019, during a live conversation, Plaintiff
21
     requested that Defendant cease all further calls to her Number.
22
23         18.    Ignoring Plaintiff’s unequivocal request, Defendant continued to call
24
     Plaintiff’s Number using an ATDS in an excessive and harassing manner.
25
26         19.    Defendant’s calls directly and substantially interfered with Plaintiff’s

27 right to peacefully enjoy a service that Plaintiff paid for and caused Plaintiff to suffer
28
   a significant amount of anxiety, frustration, and annoyance.

                                                 4
                                                              COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 5 of 9 Page ID #:5



 1                                             COUNT I
 2
      VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47
 3                         U.S.C. § 227, et seq.
 4
           20.    Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7         21.    The TCPA prohibits Defendant from using, other than for emergency
 8
     purposes, an ATDS and/or Robocalls when calling Plaintiff’s Number absent
 9
10 Plaintiff’s prior express consent to do so. See 47 U.S.C. § 227(b)(1).
11         22.    Defendant’s telephone system has the earmark of using an ATDS and/or
12
     using Robocalls in that Plaintiff, upon answering calls from Defendant, heard a
13
14 significant period of silence before being transferred to a live representative.
15
           23.    Defendant called Plaintiff’s Number using an ATDS and/or Robocalls
16
17 without Plaintiff’s consent in that Defendant either never had Plaintiff’s prior express
18 consent to do so, or such consent was effectively revoked when Plaintiff requested
19
     that Defendant cease all further calls.
20
21         24.    Defendant continued to willfully call Plaintiff’s Number using an ATDS
22 and/or Robocalls knowing that it lacked the requisite consent to do so in violation of
23
   the TCPA.
24
25         25.    Plaintiff was harmed and suffered damages as a result of Defendant’s
26
     actions.
27
28


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                                                             COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 6 of 9 Page ID #:6



 1         26.    The TCPA creates a private right of action against persons who violate
 2
     the Act. See 47 U.S.C. § 227(b)(3).
 3
 4         27.    As a result of each call made in violation of the TCPA, Plaintiff is
 5 entitled to an award of $500.00 in statutory damages.
 6
          28. As a result of each call made knowingly and/or willingly in violation of
 7
 8 the TCPA, Plaintiff may be entitled to an award of treble damages.
 9
10                                         COUNT II
11     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
12                         U.S.C. § 1692, et seq.
13         29.    Plaintiff incorporates by reference all of the above paragraphs of this
14
     complaint as though fully stated herein.
15
16         30.    The FDCPA was passed in order to protect consumers from the use of
17
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
18
     practices.
19
20         31.    Defendant attempted to collect a debt from Plaintiff and engaged in
21
     “communications” as defined by 15 U.S.C. § 1692a(2).
22
23         32.    Defendant communicated with Plaintiff regarding a third-party debt more

24 than once without being requested to do so, in violation of 15 U.S.C. § 1692b(3).
25
         33. Defendant engaged in conduct, the natural consequence of which was to
26
27 harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
28 violation of 15 U.S.C. § 1692d.


                                                6
                                                             COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 7 of 9 Page ID #:7



 1         34.    Defendant caused Plaintiff’s phone to ring or engaged Plaintiff in
 2
     telephone conversations repeatedly or continuously, with the intent to annoy, abuse
 3
 4 and harass Plaintiff, in violation of 15 U.S.C. § 1692d(5).
 5         35.    Defendant attempted to collect an amount from Plaintiff that was
 6
     unauthorized by agreement or law, in violation of 15 U.S.C. § 1692f(1).
 7
 8         36.    The foregoing acts and/or omissions of Defendant constitute numerous
 9
     and multiple violations of the FDCPA, including every one of the above-cited
10
11 provisions.
12         37.    Plaintiff has been harmed and is entitled to damages as a result of
13
     Defendant’s violations.
14
15
                                          COUNT III
16
17         VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
                  PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
18
           38.    Plaintiff incorporates by reference all of the above paragraphs of this
19
20 complaint as though fully stated herein.
21
           39.    The Rosenthal Act was passed to prohibit debt collectors from engaging
22
23 in unfair and deceptive acts and practices in the collection of consumer debts.
24         40.    Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
25
     to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
26
27         41.    Defendant communicated with Plaintiff with such frequency as to be
28 unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e).


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                                                             COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 8 of 9 Page ID #:8



 1         42.    Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
 2
     seq., in violation of Cal. Civ. Code § 1788.17.
 3
 4         43.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
 5 violations.
 6
 7                                  PRAYER FOR RELIEF
 8
           WHEREFORE, Plaintiff prays for judgment against Defendant for:
 9
                  A. Statutory damages of $500.00 for each call determined to be in violation
10
11                   of the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
12
                  B. Treble damages for each violation determined to be willful and/or
13
14                   knowing under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);

15                C. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
16
                  D. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
17
18                E. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
19                F. Statutory damages of $1,000.00 for knowingly and willfully committing
20
                     violations pursuant to Cal. Civ. Code § 1788.30(b);
21
22                G. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
23
                     § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
24
25                H. Punitive damages; and

26                I. Such other and further relief as may be just and proper.
27
28


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                                                             COMPLAINT FOR DAMAGES
 Case 5:20-cv-00126-JAK-SP Document 1 Filed 01/16/20 Page 9 of 9 Page ID #:9



 1                TRIAL BY JURY DEMANDED ON ALL COUNTS
 2
 3
 4 DATED: January 16, 2020                     TRINETTE G. KENT
 5
                                               By: /s/ Trinette G. Kent
 6                                             Trinette G. Kent, Esq.
 7                                             Lemberg Law, LLC
                                               Attorney for Plaintiff, Briana Armentrout
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                                                         COMPLAINT FOR DAMAGES
